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EXHIBIT B
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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

KRISTEN SHEA, INDIVIDUALLY, and f CIVIL ACTION NO.

TYLER SHEA, PPA KRISTEN SHEA, ; 3:21-CV-00673-JCH
Plaintiffs,

v.

CHATERAM SIEUNARINE and

CHET TRANSPORT, LLC,

Defendants. : MAY 6, 2022

DEFENDANTS’ RESPONSES TO PLAINTIFFS’ FIRST REQUEST FOR ADMISSION
OF DOCUMENT

Pursuant to Rule 36 of the Federal Rules of Civil Procedure, the Defendants, Chateram
Sieunarine and Chet Transport, LLC, hereby responds and objects to Plaintiff's First Request for
Admission of Document as follows:

Responses and Specific Objections

1. Gonzalo Truck Parts & Repair Invoice #92650 dated 2/5/2019, a copy of which is
attached hereto as Exhibit A.
ANSWER: The Defendants are unable to admit, deny, or respond to this request, as this
request does not propound a proper and/or complete request in regards to the referenced

document.
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MELICK & PORTER, LLP

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